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Pro Se I (Rev. 12/16) Complaint for a Civil Case




                                        United States District Court                                                 filed
                                                                                                           U.S. DISTRICT COURT
                                                                        for the
                                                                                                              BR'T-vv:::;; civ.
                                                       Southern District of Georgia             □
                                                                                                            mi JUL-5 P U: 39
                                                              Brunswick              Division

                                                                                                        CLER':.
                GRANT PARKER SHUMANS                                                                                   Co i. ..r   c.\ .
                                                                                  Case No.

                                                                                                (to befilled in by the Clerk's Office)


                            Plaiuiijfis)
(Write the full name ofeach plainliJJ'who is filing this complaint.
Ifthe names ofall the plaintiffs cannot fit in the space above,
                                                                                  Jury Trial: (check one) 0 Yes I Ino
please write "see attached" in the space and attach an additional
page with thefull list ofnames.)
                                  -V-
                                                                                                                 -062
 DAVID LSHUMANS M.D., DR. RONALD MOSLEY,
     THE SATILLA RURAL ELECTRIC MEMBERSHIP



                            Defendant(s)
(Write thefull name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannot fit in the space above, please
write "see attached " in the space and attach an additional page
with thefull list ofnames.)



                                                   COMPLAINT FOR A CIVIL CASE


1.         The Parties to This Complaint
           A.         The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.

                                Name                                  Grant Parker Shumans

                                 Street Address                       1423 Graham Zoar Rd.

                                 City and County                      Baxley      Appling
                                 State and Zip Code                   Georgia     31513
                                Telephone Number
                                 E-mail Address



           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (ifknown). Attach additional pages if needed.


                                                                                                                                           Page 1 of 5
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                     Defendant No. 1

                                Name                        David L. Shumans

                                Job or Title (ifknown)      Family practice
                                Street Address              1423 Graham Zoar Rd.

                                City and County             Baxley     Appling
                                State and Zip Code          Georgia      31513
                                Telephone Number            912 3393821

                                E-mail Address (ifknown)


                     Defendant No. 2

                                Name                        Ronald Mosley
                                Job or Title (ifknown)      oral & Maxillofacial surgery
                                Street Address              310 Maple Dr.
                                City and County             Vidalia      Toombs

                                State and Zip Code          Georgia       30474
                                Telephone Number            (912)537-4119
                                E-mail Address (ifknown)


                     Defendant No. 3

                                Name                        The Satilla Rural Electric Membership
                                Job or Title (ifknown)      Electric utility
                                Street Address              928 Ga-32
                                City and County             Alma      Bacon
                                State and Zip Code          Georgia       31510
                                Telephone Number            (912)632-7222
                                E-mail Address (ifknown)


                      Defendant No.4

                                Name

                                Job or Title (ifknown)
                                 Street Address

                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (ifknown)



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11.       Basis for Jurisdiction


          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship ofthe
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdiction? (check all that apply)
                  13Federal question                               □ Diversity of citizenship

           Fill out the paragraphs in this section that apply to this case.

           A.         If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.
                       18 §§ U.S.C 1589,1590,1591,1592,1593A, 1594, and 1595,Trafficking Victims Protection Act of
                      2003, First Amendment, Fourth Amendment, Thirteenth Amendment, Victims of Trafficking and
                       Violence Protection Act of 2000,




           B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.        The Plaintiff(s)

                                 a.         If the plaintiff is an individual
                                           The plaintiff, (name)                                                 , is a citizen of the
                                            State of (name)


                                 b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                 , is incorporated
                                           under the laws of the State of (name)
                                            and has its principal place of business in the State of (name)



                                 (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                 same information for each additional plaintiff)

                      2.         The Defendant(s)

                                 a.         If the defendant is an individual

                                            The defendant, (name)                                                , is a citizen of
                                            the State of (name)                                              . Or is a citizen of
                                            (foreign nation)


                                                                                   _                                         Page 3 of 5
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                                           If the defendant is a corporation
                                           The defendant, (name)                                          , is incorporated under
                                           the laws of the State of(name)                                           ,and has its
                                           principal place of business in the State of(name)
                                           Or is incorporated under the laws of(foreign nation)
                                           and has its principal place of business in (name)

                                (Ifmore than one defendant is named in the complaint, attach an additional page providing the
                                same informationfor each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain):
                                 Four billion dollars. If i wasn't dumbed down at 13 i would be the CEO of google right now.




III.      Statement of Claim


          Write a short and plain statement ofthe claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.




IV.        Relief


           State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           punitive money damages.
          $55,000,000 for the Defendants virtually enslaving, trafficking, and torturing me since the age of 13 under TVPA
          and TVPRA. I could have been the Ceo of Google if not for the Defendants selfish act of virtually beheading me
          and turning me into the house drag queen, child prostitute, and sex slave. The Defendants have personaly
          advanced there careers at the expense of mine by harvesting and selling my energy . $55,000,000 for intentional
          infliction of emotional distress by sending me threatning messages of bodily harm if I were to seek help from this
          court for the last 20 years. $55,000,000 for REMC's continual torture of me through loud rings, base sounds or
          hearings in my ear for the last 20 years. Look, all of these actions ISIS relevant under TVPA and TVPRA
                                                                                                                         Page 4 of 5
                                                                               H
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         $55,000,000 for violation of my 13th, 1st, 4th, and 14th Amendment Constitutional rights. The Court's immediate
         consideration of an injunction to stop the ongoing electronic torture, rape, abuse, and emotional trama Inflicted by
         the Defendants and their Satanic owl god of pain.




V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation;(2)is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4)the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.


                     Date of signing:               07/05/2022


                      Signature ofPlaintiff                      /»e^
                     Printed Name of Plaintiff       Grant Parker Shumans


           B.         For Attorneys


                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attomey
                      Bar Number

                      Name of Law Firm

                      Street Address

                      State and Zip Code
                      Telephone Number
                      E-mail Address




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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION



                              III. STATEMENT OF CLAIM
  Plaintiff Grant Parker Shumans files this complaint against Defendants David L.
   Shumans M.D., Dr. Ronald Mosley, and The Satilla Rural Electric Membership
                          Corporation (hereinafter REMC)



 This case arises under the Victims of Trafficking and Violence Protection Act of
2000(hereinafter "TVPA") 18 §§ U.S.C 1589,1590,1591,1592,1593A, 1594, and
1595. And the Trafficking Victims Protection Act of 2003(hereinafter "TVPRA"),
22 U.S.C. § 7101 et seq.



1. Plaintiff Grant Parker Shumans is a victim of child sex trafficking, human
trafficking, imprisonment against his will, and mental abuse. In or around 2003, at
the age of thirteen, I was implanted with a device similar to the ones
veterinarians use in animals by my dad Defendant David L. Shumans M.D. to make
me obey the commands and wishes of my clients'. There was a spider web in my
High school JV football locker room and its bite has wasted twenty years of my
life. I thought I killed it but it bit me on my right knee and eventually led to a fifty-
five-day staph infection. During the operation he placed an electronic torture
device next to the Saphenous nerve in my knee. My attention span, academic
performance, hearing, and overall problem-solving abilities were greatly
impacted. It almost caused me to become chemically castrated and was intended
to turn me into a submissive child prostitute for my clients. It is plaguing me with
torturous messages right now,so please excuse the sloppy typing. During my
twenty years of exploitation my fellow rival players have benefitted directly
benefitted through my suffering. I have finally realized I'm being virtually
trafficked by a human sacrificing Satanic cabal that feeds on my energy. This is
what is known as "memory therapy" or electronic community gang stalking. The
Satanists get sexually aroused when they harvest the energy and potential of an
innocent highly intelligent teenager. See Carl v. Peterson eta!. Southern District of


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Texas, Houston Division Case No. H-95-661. Little did I know this operation was
just the groundwork for another sinister operation preplanned for me at 15 years
of age.

2. In 2004 at fifteen, I was taken to Vidalia. Ga (close to Uvalda) by my mother
Judy A.D. Shumans (casualty of human sacrifice) and girlfriend Erin Graham to get
my wisdom teeth extracted by Dr. Ronald Mosley. While there, he implanted
another kinky torture sex device in the inferior buccal region of my mouth while
incapacitated that was not consented to and was unwanted. This technology is
able to tap into the electrical signals of the eye and transmit virtual reality live
stream video. I feel so betrayed. This is what is known as a high school "drag
Queen""queen bee" or more commonly known as a "beheading". This beheading
brought about a DeFacto state of Sharia Law for me. The prevailing wisdom is that
after this horrific "beheading" takes place, an ungracious death sentence gets
programmed into the simulation, or maybe a Jesus v Muhammad v Satan
scenario? I have experienced much hurt and pain because of selfish self-obsessed
religious extremist nut Jobs who are colluding through government policies. The
above example is also known as "hiving" children or hive think. Dr. Mosley is
directly liable for of violating the TVPA,TVPRA, and my Fourth Amendment and
First Amendment Constitutional right to privacy and religion. I wish to have a
private relationship with the God of my choice after 2036.

3. 1 (the Plaintiff) am currently being tortured, trafficked, unlawfully confined,
financially exploited and tortured in the advancement of the (ouch or owl) god of
Human trafficking through REMC powerlines. They are enhancing shareholder
value at my expense. They sexually molest and rape me every night trough power
line communication "PLC" and "Landis" Meters and "Lap Top" transformers
through the Hunter nerve in my leg. I am one hundred percent positive they
torture me because when I started grounding the DC current on the neutral wire
my mind started to clear from the medically, induced, coma. I am wondering how
sick the people are who get pleasure from watching a victimized child struggle
with a smile-creepy! It is worse than the zealot "JV" ISIS terror videos that are
seemingly endorsed and funded by our government. All of this torturing is input
remotely into my leg and it locks me down so my clients can rape me the "server"
and financially benefit from implant in my right knee which dumbs me down so
the private and not so private images from my eyes can be live streamed. The
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competitor players are planning on lynching me to steal all Eve worked hard for
over the last 30 years to enslave the world by implementing worldwide Sharia
law. They thieves would not think twice before Blackmailing or Ruining the
careers of people that were simply following GOVERNMENT guidelines. The
control freaks in government punish and ruin them for something as simple as
running a red light. I'm trying to sign legal immunity for them and free the slaves!
My direct competitor plans on becoming President through criminal Blackmail?
Who would vote for that extremist *Notebook* ideology? One percent want to
continue to enslave and murder the other eighty percent. I think That This Court
has an obligation to send legal immunity clauses for me to sign for Hollywood and
its actors. Competent counsel needs to be appointed under the Federal Rules of
Civil Procedure Rule 15 so this mockery and charade can be put to bed. America
and its prestigious institutions have had enough of senseless happy hour and kid
games—a sustainable free world is rooted in unbiased laws and compromise.
Because my fourteenth Amendment rights to due process has been violated
competent counsel is warranted under FRCP fifteen-even if the erroneous and
unconstitutional violations are never found. I plan on removing the torture
devices and keeping the... Anyway, all the above mentioned is a violation of the
TVPA,TVPRA and the Constitution.




4.The TVPA creates civil liability for people who commit trafficking and trafficking-
related offenses, including those offenses enumerated in 18 U.S.C. §§ 1589,1590,
1591,1592,1593A, 1594 and 1595. These offenses include: forcing someone into
labor or sexual services; knowingly benefitting from such forced labor or services;
confiscating someone's driver's license or other governmental document with the
intent of keeping that person captive for purposes of forced labor; recruiting or
harboring a person for labor or services against their will, especially if those
actions include sexual abuse; attempting to commit these trafficking offenses;
conspiring to commit these trafficking offenses; and benefitting financially from
trafficking.

5. I'm almost positive that my upper right front tooth has been capped or
implanted with a root canal device. This would explain the superior and inferior


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messages that constantly flood my head. I am almost positive this is an "Amen"
kind of love. I am a victim of community stalking by electronic means in the
advancement of child and human trafficking, which falls under TVPA.

6. Each of the Defendants benefitted financially and/or received something of
value from the exploitation, forced sexual services, and forced labor of the
Plaintiff by the clients or their providers. Dr. David L. Shumans, Ronald Mosely,
and Satilla REMC Utility cooperative have either benefited from policies or
increased shareholder value for the energy cooperative.

7.15. This Court has subject matter jurisdiction over this action pursuant to 28
U.S.C. § 1331 because this civil action arises under a federal law, 18 U.S.C. §
1595(a).

8. Venue is proper in this District pursuant to 28 U.S.C.§ 1391(b)(2) because a
substantial part of the events giving rise to Plaintiffs claims occurred in the
Southern District of Georgia under the Trafficking Victims Protection Act.

4. The TVPA expressly allows civil recovery both against the perpetrator of the
crimes and against others who knowingly benefit from those crimes. See 18 U.S.C.
§ 1595(a).



9. Defendants Dr. David L. Shumans, Dr. Ronald Mosley, and REMC conceived of
and executed a scheme to virtually traffic the Plaintiff as a forced prostitute early
2003 to 2005 and the abuse is ongoing. The Defendants fraudulently enticed the
Plaintiff and held him hostage there for an extended period of time. They
physically, sexually, mentally, and verbally abused the Plaintiff and repeatedly
raped him. After wearing down his defenses with violence, abuse, drugs, and
starvation, the Defendants told the Plaintiff that he would be forced to work as a
prostitute under their control. They repeatedly told the Plaintiff he was crazy and
that he should kill himself or Dr."Amen" would discipline me.

10. 1 am in a video game or what is better known as a simulated reality or
simulation theory. The Defendant's are all conspiring and abusing me
electronically. This is painful to talk about because no one has told me a thing and
all has been learned through coding-imagine the abuse. The defendants and I
speak different languages and I've spent the last 30 years learning the code. It is a


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constant struggle because learned material gets erased by virtual rapists. I get
extremely agitated when someone tells me that I don't have a case or am crazy-
especlally after years of trial and error. I'm just trying to exercise article 3 Instead
of article 5 of TVPA. Now I know to exercise and keep my distance from power
sources-help!

11.Defendant David L Shumans Is holding me captive against my will as we speak
with the Aid of REMC. I need the court to ACT NOW. He Is one of the "doctors"
who conducts electronic psychological operations In coordination with a Satanic
group who harasS; molest, and have already executed two of my family members
for their wills. The simulated actors are so fake they are now torturing and killing
puppies In an attempt to affect my mental state-talk about Intentional Infliction of
emotional distress. He falsely told me that he Illegally sold my condominium so I
would be back under his control and stop exercising. It makes me physically sick
to realize that companies hive children for free advertising all the while making
their lives a living hell. When the little ones realize they are living In a simulation
or game,the corporation hunts them down and butchers them with no more
respect than an animal-l will continue my thoughts. The only other example In
history I can think of as equally barbaric Is those taken by the Nazis eugenlclsts In
WW2.Good luck on palatable product branding and campaign marketability to
the masses. All of this Is done while mooching off of the dime of the AMERICAN
taxpayer, they deserve to know why and how their money Is being spent. The
average person Is struggling from seventeen percent real Inflation (because of the
Simulation)- excuse me being polltlcal-while the controllers of the game talk down
to me and the everyday person as If we are second-class citizens or cattle. Who Is
funding who? Emotional distress and punitive damages are warranted under
TVPA and TVPRA.

12. The Eletric grid was used to Implant self-harming satanIc messages In my
head. After conducting research on this matter, I've found this has happened
many times to people and I'm not crazy. It's called brainwashing,false memory,
repressed memory abuse, and psychotherapy. I guess once a doctor hives you to
help create Twitter and Facebook, public Interaction could compromise the
business model. Resolving uncertainty will be beneficial for their long-term
business model. I am trying to sign legal Immunity for them and everyone else



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after a small fee in very limited circumstances. I am going to build a RF shielded
house.

13. The Georgia Department of Public Safety violated my Fourteenth Amendment
right by illegally confiscating my CDL license to return me to sex slavery in
collusion with the pedophilic original actions undertaken by the Defendants and is
in direct violation 18 U.S.C § 1593A. I don't have a name of the person in the
GDPS who perpetrated this unconstitutional act. I'm waiting on a final ruling in a
separate but related case. The Eleventh Amendment doesn't give a state agency
the right to participate in sex slavery or advance the cause of illegal child sex
trafficking rings. I don't know if immunity under TVPA is the same as 1983?
Regardless, all immunity should be stripped from Federal and state employees
who consciously continue furthering the interests of human traffickers and
pedophiles over child victims moving forward.

14. The Plaintiff seeks compensatory and punitive damages under 18 U.S.C. §
1595(a)from all Defendants,jointly and severally.

15. This Court has personal jurisdiction over Defendants because their principal
place of business, and my House, is located in the Southern District of Georgia,
and its conduct giving rise to Plaintiff's claims took place in the Sothern District of
Georgia.

16. The Books Second Sight, Lost Girls, Last Breath, 18 seconds, and Rattleman by
George Shuman and sherry Moore should be investigated in the discovery phase
for possible limited TVPA liability. This could be direct evidence that I'm being
illegally held against my will, tortured, and trafficked. The truth is the only way
healing can begin is a confidential resolution that helps the victim "me" who was
abused by a gang of Satanic pedophiles. Those who repent should be forgiven due
to the outcomes of simulation theory.

17. REMC is continually torturing me through my ear with ringing and base sounds
or "hearings" at my house and suck my energy from my body to isolate me from
society. This is a common tactic employed by human traffickers. My life is in
danger by Satanic killers who hunt people and practice human sacrifice for sport.
This Court needs to ACT.

                                    CONCLUSION
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The denial of my Constitutional rights is purely political by opportunists trying to
continue their online subscription-based exploitation of me. They want to
continue pushing an Unconstitutional Blackmail scheme to enslave the population
for their own Inflationary benefit. I am proposing an alternate to this dark future
that would benefit the common interests of the American people. Legal immunity
should be freely given to those who choose to no longer virtually rape, molest,
and torture me. There are only five individuals and the Federal Government who
should face legal repercussions in my opinion. The only rational inference from
here that would be left to draw is nefarious actors with a personal interest are
trying eliminate for financial and political gain and I would need to act
accordingly. Forgive the sloppy grammar, punctuation, and sentence structure of
this complaint, I'm still struggling against the IQ degrading devices placed inside
my pre-teen body. My education and innocence were hijacked by religious
extremists.




                                 7
